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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 21-60125-CIV-SCOLA/GOODMAN

  JIANGMEN BENLIDA PRINTED
  CIRCUIT CO., LTD.,
  Counter-Defendant,
  v.
  CIRCUITRONIX, LLC,
  Counter-Plaintiff.
  ____________________________________/


                    BENLIDA’S MEMORANDUM IN RESPONSE TO THE
                   COURT’S ORDER [DE 250] REGARDING DEPOSITION
                         DESIGNATIONS AS TO AKSHAY KOUL

         Counter-Defendant Jiangmen Benlida Printed Circuit Co., Ltd. submits this memorandum

  in response to the Court’s order [DE 250] that Benlida explain the relevance of Akshay Koul’s

  testimony that Benlida seeks to introduce. While the Court has precluded evidence of CTX-HK’s

  debts and CTX-US’s responsibility therefor, there has been no motion nor any order precluding

  evidence of the existence of CTX-HK. Likewise, there has been no motion nor any order

  precluding evidence regarding how Benlida and CTX-US performed under the Manufacturing

  Agreement.

         There will certainly be testimony in this case as to what the parties understood the terms

  of the contract to mean. It is inconceivable that there would be no mention made of Hong Kong,

  and likewise CTX-HK. Because of the deep interconnectedness of CTX-US and CTX-HK, it

  would impossible to try this case without mention of CTX-HK.

         Although it is expected that there will be testimony regarding lead-time penalties claimed

  by CTX-US, CTX-US has objected to any such testimony from Mr. Koul regarding the same.

  (See its objection to read-in of portions of page 92). CTX-US states that testimony regarding


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  CTX-HK purchase orders has been precluded. This is not correct. The Court has precluded

  testimony regarding the debts of CTX-HK, not testimony regarding the circumstances and

  procedures regarding the issuance of purchase orders and the fulfillment of orders placed for

  CTX-US’s customers, whether such orders were placed by CTX-US itself or by CTX-HK.

         Further with respect to CTX-US’s claim for lead-time penalties, Benlida’s defense

  thereto, cannot fairly be understood without taking into consideration the placement of orders

  and the procedures practiced by the parties in accordance with the Manufacturing Agreement for

  determining and calculating lead-time penalties. To determine whether lead-time penalties are

  appropriate, all purchase orders must be considered, whether placed by CTX-US or CTX-HK.

  Hence, CTX-HK is by no means “irrelevant” to the issues in this case.

         There will also be testimony that Benlida delivered the PCBs to Hong Kong warehouse

  facilities, and that the logistics for receipt of every delivery from Benlida was managed by staff

  of CTX-HK. Because the dates when the PCBs were received is a key factor in calculating lead

  time penalties, how and by whom those calculations were done is key to Benlida’s defense.

  There will be testimony showing the back-and-forth, if you will, as to how business was

  conducted, including that all logistics – which is absolutely germane to the issue of lead-time

  penalties – are, of course, run out of Hong Kong and by CTX-HK.

         Some of the designations for Mr. Koul may be obviated by testimony from CTX-US’s

  other witnesses, through cross-examination and perhaps direct testimony. Benlida respectfully

  submits that the relevance of the designations proposed by it will become more evident, and even

  more relevant, during the trial, if the relevance is not yet clear to the Court. Accordingly, in the

  event of any doubt as to the relevance, Benlida submits that the Court should reserve decision

  until it hears further testimony. Finally, Benlida also notes that there are passages from Mr.




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  Koul’s testimony that CTX has not objected to. Therefore, Benlida submits that such testimony

  has already been acknowledged to be relevant.



  Dated: October 12, 2023                             Respectfully submitted,

                                                      Mazzola Lindstrom LLP
                                                      1350 Avenue of the Americas, Second Floor
                                                      New York, New York 10019
                                                      Tel.: (646) 216-8300
                                                      /s/ Richard E. Lerner.
                                                      /s/ Jean-Claude Mazzola
                                                      Richard E. Lerner
                                                      Jean-Claude Mazzola
                                                      Bar No.: 73466
                                                      richard@mazzolalindstrom.com
                                                      jeanclaude@mazzolalindstrom.com

                                                      Counsel for Jiangmen Benlida
                                                      Printed Circuit Co., Ltd.


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